Case 15-28859-ABA   Doc 71   Filed 12/11/17 Entered 12/11/17 15:25:11   Desc Main
                             Document     Page 1 of 4
Case 15-28859-ABA   Doc 71   Filed 12/11/17 Entered 12/11/17 15:25:11   Desc Main
                             Document     Page 2 of 4
Case 15-28859-ABA   Doc 71   Filed 12/11/17 Entered 12/11/17 15:25:11   Desc Main
                             Document     Page 3 of 4
Case 15-28859-ABA   Doc 71   Filed 12/11/17 Entered 12/11/17 15:25:11   Desc Main
                             Document     Page 4 of 4
